Case 9:22-cv-81294-AMC Document 14 Entered on FLSD Docket 08/24/2022 Page 1 of 2


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    Palm Beach,FL 33480


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           Please take notice that the foregoing M otion to Appear Pro H ac Pv c for M Evan

    Corcoran,Consentto D esignation,and Requestto Electronically Receive N otices of Electronic

    Filing (theGGM otion''lisbeing filed conventionally becauseatechnicalissuewith accesstothe
    Court's CM /ECF system precluded electronic tlling today,atld the CM /ECF H elp Desk advised

    undersigned counselto fle convenéonally.



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